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                                                          U.S. Department of Justice


                                                          United States Attorney
                                                          Eastern District of New York
WMP/AES                                                   271 Cadman Plaza East
F. #2014R00501                                            Brooklyn, New York 11201



                                                          December 22, 2015



By ECF and FedEx

Marcus A. Asner, Esq.
Arnold & Porter LLP
399 Park Avenue
New York, NY 10022-4690

Jonathan S. Sack, Esq.
Morvillo, Abramowitz, Grand, Iason & Silberberg P.C.
565 Fifth Avenue
New York, NY 10017

                Re:     United States v. Martin Shkreli, et al.
                        Criminal Docket No. 15-637 (KAM)

Dear Messrs. Asner and Sack:

                Enclosed please find the government’s discovery in accordance with Rule 16 of the
Federal Rules of Criminal Procedure. The government also requests reciprocal discovery from the
defendants.

I.       The Government’s Discovery

         A.     Statements of the Defendants

                 To the extent the defendants made statements to law enforcement, a summary and/or
video recording of those statements are enclosed herein for that specific defendant only, as follows: (i)
transcripts of defendant Martin Shkreli’s testimony before the Securities and Exchange Commission
(“SEC”) on August 23, 2013 and February 24, 2014 (SHKRELI000026-273); (ii) a report and
corresponding notes of defendant Martin Shkreli’s statements to the United States Attorney’s Office for
the Eastern District of New York (“EDNY”) on January 29, 2015 (SHKRELI000002-25); (iii) a video
recording of defendant Martin Shkreli’s post-arrest statements to agents from the Federal Bureau of
Investigation (“FBI”) on December 17, 2015 (contained within a folder labeled SHKRELI000001); and
(iv) a video recording of defendant Evan Greebel’s post-arrest statements to FBI agents on December 17,
2015 (GREEBEL000001).
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        B.         The Defendants’ Criminal History

                   To date, the government does not have any information that either defendant has a
criminal record.

        C.         Documents and Tangible Objects

                  The government will provide discovery of documents and physical evidence on a rolling
basis, with the first production to be made prior to the status conference scheduled in this matter for
January 20, 2016. You may examine any of the physical evidence discoverable under Rule 16, including
original documents, by calling me to arrange a mutually convenient time.

        D.         Reports of Examinations and Tests

                 The government will provide you with copies of any reports of examinations or tests in
this case as they become available.

        E.         Expert Witnesses

               The government will comply with Fed. R. Crim. P. 16(a)(1)(G) and Fed. R. Evid. 702,
703 and 705 and notify you in a timely fashion of any expert that the government intends to call at trial
and provide you with a summary of the expert’s opinion.

        F.         Brady Material

                The government is not aware of any exculpatory material regarding the defendants. The
government understands and will comply with its continuing obligation to produce exculpatory material
as defined by Brady v. Maryland, 373 U.S. 83 (1963), and its progeny.

                Before trial, the government will furnish materials discoverable pursuant to Title 18,
United States Code, Section 3500, as well as impeachment materials. See Giglio v. United States, 405
U.S. 150 (1972).

        G.         Other Crimes, Wrongs or Acts

                  The government will provide the defendants with reasonable notice in advance of trial if
it intends to offer any material under Fed. R. Evid. 404(b).

II.     The Defendants’ Required Disclosures

                  The government hereby requests reciprocal discovery under Rule 16(b) of the Federal
Rules of Criminal Procedure. The government requests that each defendant allow inspection and copying
of (1) any books, papers, documents, data, photographs, tapes, tangible objects, or copies or portions
thereof, that are in the defendant’s possession, custody or control, and that the defendant intends to
introduce as evidence or otherwise rely on at trial, and (2) any results or reports of physical or mental
examinations and of scientific tests or experiments made in connection with this case, or copies thereof,
that are in the defendant’s possession, custody or control, and that the defendant intends to introduce as
evidence or otherwise rely upon at trial, or that were prepared by a witness whom the defendant intends to
call at trial.




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                The government also requests that the defendants disclose prior statements of witnesses
who will be called by the defendants to testify. See Fed. R. Crim. P. 26.2. In order to avoid unnecessary
delays, the government requests that the defendants have copies of those statements available for
production to the government no later than the commencement of trial.

                 The government also requests that the defendants disclose a written summary of
testimony that the defendants intend to use as evidence at trial under Rules 702, 703, and 705 of the
Federal Rules of Evidence. The summary should describe the opinions of the witnesses, the bases and
reasons for the opinions, and the qualification of the witnesses.

                  Pursuant to Fed. R. Crim. P. 12.1(a), the government hereby requests written notice, to be
served within 14 days of this demand, if either defendant intends to offer an alibi defense. The written
notice shall state the specific place or places at which the defendant claims to have been at the time of the
alleged offenses, and the names, addresses and telephone numbers of each witness upon whom the
defendant intends to rely to establish such alibi. The offenses took place at the location and dates
specified in the Indictment.

                 Pursuant to Fed. R. Crim. P. 12.3, the government hereby demands written notice of
either defendant’s intention, if any, to claim a defense of actual or believed exercise of public authority,
and also demands the names and addresses of the witnesses upon whom the defendant intends to rely in
establishing the defense identified in any such notice.

III.    Future Discussions

                If you have any questions or requests regarding further discovery or a disposition of this
matter, please do not hesitate to contact me.

                 Please be advised that, pursuant to the policy of the Office concerning plea offers and
negotiations, no plea offer is effective unless and until made in writing and signed by authorized
representatives of the Office. In particular, any discussion regarding the pretrial disposition of a matter
that is not reduced to writing and signed by authorized representatives of the Office cannot and does not
constitute a “formal offer” or a “plea offer,” as those terms are used in Lafler v. Cooper, 132 S. Ct. 1376
(2012), and Missouri v. Frye, 132 S. Ct. 1399 (2012).


                                                             Very truly yours,

                                                             ROBERT L. CAPERS
                                                             United States Attorney


                                                   By:        /s/ Winston Paes
                                                             Winston Paes
                                                             Alixandra Smith
                                                             Assistant U.S. Attorneys
                                                             (718) 254-6023(Paes)/6370(Smith)


Enclosures

cc:     Clerk of the Court (KAM) (by ECF) (w/o enclosures)


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